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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ARCHIE BEATON, individually and on                    Case No. 1:13-cv-08389
behalf of all others similarly situated,
                                                      Honorable Andrea R. Wood
               Plaintiff,

         v.

SPEEDYPC SOFTWARE, a British Columbia
company,

               Defendant.


      MOTION BY COURTNEY C. BOOTH FOR LEAVE TO WITHDRAW HER
      APPEARANCE AS ONE OF THE COUNSEL OF RECORD FOR PLAINTIFF

       Courtney C. Booth, one of the attorneys of record for Plaintiff Archie Beaton

(“Plaintiff”), respectfully moves this Court pursuant to Local Rule 83.17 for leave to withdraw as

counsel of record for Plaintiff. In support of this Motion, Ms. Booth states as follows:

       1.      As of February 24, 2017, Ms. Booth will no longer be working with the law firm

Edelson PC, which has been retained to represent Plaintiff in this matter. As such, Ms. Booth

seeks leave to withdraw her appearance on behalf of Plaintiff.

       2.      Although Ms. Booth will no longer be working with Edelson PC and will no

longer represent Plaintiff in this action, Plaintiff will continue to be represented by other

attorneys at Edelson PC, including Rafey S. Balabanian, Benjamin H. Richman, Eve-Lynn Rapp,

Amir C. Missaghi, and David I. Mindell. Plaintiff will, therefore, not be prejudiced by Ms.

Booth’s withdrawal.

       WHEREFORE, Ms. Booth respectfully requests that the Court enter an order granting her

leave to withdraw her appearance as one of the attorneys of record for Plaintiff.




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                                      Respectfully submitted,

Dated: April 11, 2017                 By:    /s/ Courtney C. Booth

                                      By:    /s/ Benjamin H. Richman

                                      Benjamin H. Richman
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2017, I caused to be served the above and foregoing
Unopposed Motion by Courtney C. Booth for Leave to Withdraw Her Appearance as One of
the Counsel of Record for Plaintiff by causing a true and accurate copy of such paper to be filed
and served on all counsel of record via the court’s CM/ECF electronic filing system.

                                            /s/ Benjamin H. Richman




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